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Property and Liability
Insurance Principles

ConstanceM. Luthardt, CPCU, AAl, AIM
Eric A.Wiening, CPCU, ARM, AU

Coordinating Author

Martin J. Frappolli, CPCU, AIS

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American Institute for Chartered Property Casualty
Underwriters/Insurance Institute of America
720 Providence Road, Suite 100
Malvern, Penrisylvania 19355-3433

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Underwriting

_ Underwriting is the process of selecting insureds, pricing coverage, determining
insurance policy terms and conditions, and then monitoring the underwriting

decisions made. To a large extent, an insurer’s success in achieving its goals
depends on the effectiveriess of its underwriting.

~ ¢-Insurers themselves, rather than their employees, are sometimes called
underwriters. However, the term underwriter is usually reserved for an
insurer employee who evaluates applicants for insurance, selects those that
are acceptable to the insurer, prices coverage, and determines policy terms
and conditions. :

UNDERWRITING ACTIVITIES

Underwriting consists of the following activities:

* Selecting insureds

. Pricing coverage

e Determining policy terms aid coriditions
* Monitoring ‘underwriting decisions:

The first three activities are not performed in sequence but occut sirnultaneously.
The last activity, monitoring underwriting decisions, is ongoing. Underwriters
try to select insureds to whom the insurer’can offer insurance coverage under
reasonable conditions. Of course, the price charged for coverage must be high
enough to enable the insurer to pay claims and to. provide the insurer with.a
reasonable profit.

«

~ Selecting Insureds

Insurers must carefully screen applicants to determine which ones to insure.
If insurers do not properly select policyholders and price coverages, some

insureds might be able to purchase insurance at prices that do not adequately-
reflect their loss exposures. Underwriters, producers, and underwriting managers
all participate in selecting policyholders.

UT aL!

Underwriting

The process of selecting insureds,
pricing coverage, determining —
insurance policy terms and
conditions, and then monitoring
the underwriting decisions made.

Underwriter

An insurer employee who
evaluates applicants for insurance,
selects those that are acceptable
to the insurer, prices coverage,

and determines policy terms and
conditions.

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Risk Management Techniques

Risk Control Techniques

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Technique. What the Technique Does Example
Avoidance Eliminates the chance of A family decides not to purchase
a particular type of loss a boat and therefore avoids the
- by either disposing of an loss exposures associated with
existing loss exposure or by boat ownership.
not assuming a new exposure, .
Loss Lowers loss frequency A business installs bars on
prevention (number of losses). windows and door deadbolts to ©
prevent burglaries.
Loss reduction Lowers loss severity (dollar A business installs a sprinkler
“amount of losses). system to reduce the amount of
fire damage from potential fires.
Separation Lowers loss severity. A business buys multiple small
. warehouses to contain the
effects of a single loss.
Duplication Lowers loss frequency. A taxi firm maintains a few

spare vehicles to keep. all
drivers on the road even if one

_ vehicle needs repair.
Risk Financing Techniques

Retention Retains all or part of a loss A business decides not to
exposure (intentionally or purchase collision coverage for
unintentionally), which its fleet of vehicles and sets
mearis that losses must aside its own funds to pay for
be paid for with available possible collision losses. =~
funds or other assets.

Noninsurance Transfers potential - Ina lease, a landlord

transfer financial consequences of transfers the liability
a loss exposure from one exposures of a rente
party to another party that building to-the tenant.
is not an insurer. sO

Insurance Transfers financial A family purchases
consequences of specified homeowners and personal
josses from one party auto policies from an insurer,
(the insured) to another
party (the insurer) in
exchange for a specified

fee (premium).

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